

Scavone v Campbell Meadows Condominium Assn., Inc. (2019 NY Slip Op 03208)





Scavone v Campbell Meadows Condominium Assn., Inc.


2019 NY Slip Op 03208


Decided on April 26, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 26, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, NEMOYER, AND TROUTMAN, JJ.


467 CA 17-02104

[*1]SHERI SCAVONE AND MARY MAGNAN, INDIVIDUALLY, AND ON BEHALF OF N.S. AND R.S., NEE S.S., AS MINORS, PLAINTIFFS-RESPONDENTS,
vCAMPBELL MEADOWS CONDOMINIUM ASSOCIATION, INC., TIMOTHY HUTCHERSON, COLLEEN HUNT, TRACIE CORNELL, TERRY ELBERSON, PAULA STRANG, DEFENDANTS-APPELLANTS, ET AL., DEFENDANT. (APPEAL NO. 1.) 






DEMARIE &amp; SCHOENBORN, P.C., GETZVILLE (JOSEPH DEMARIE OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
KENNEY SHELTON LIPTAK &amp; NOWAK LLP, BUFFALO (RODGER P. DOYLE, JR., OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Erie County (Timothy J. Walker, A.J.) entered September 20, 2017. The order, among other things, granted plaintiffs' motion to dismiss defendants' counterclaim and certain affirmative defenses. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on February 12 and 15, 2019,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: April 26, 2019
Mark W. Bennett
Clerk of the Court








